
In re Winfield, Lawyer, Jr.; — Plaintiff(s); applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “D”, No. 313-214; to the Court of Appeal, Fourth Circuit, No. 96KW-0969.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La. 9/5/95), 660 So.2d 1189; State ex rel. Stepter v. Whitley, 93-2346 (La. 10/13/95), 661 So.2d 480; La. C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La. 1/12/96), 665 So.2d 1172.
KIMBALL, J., not on panel.
